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                      EXHIBIT C
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                                                     SINO STAR’S INFRINGEMENT ANALYSIS

                                                      U.S. Patent No. 7,304,635 – OverDrive Inc.
                                                                         Claim 1
      Sino Star Global Ltd. (“Sino Star”) provides evidence of infringement of claim 1 of U.S. Patent No. 7,304,635 (hereinafter “the ’635 patent”)
by OverDrive Inc., (“OverDrive”). In support thereof, Sino Star provides the following claim chart.
         “Accused Instrumentalities” as used herein refers to at least applications for reading information with a book interface (e.g. e-readers, tablets)
including, but not limited to OverDrive’s Libby, Sora, and Overdrive applications. The legacy application to Libby was the Overdrive application,
and Sino Star contends on that the infringing functionality described below for the Libby application applies to the OverDrive application. (See
https://resources.overdrive.com/libby/ (webpage describing OverDrive upgrading OverDrive application users to the Libby application);
https://www.youtube.com/watch?v=JmYCzHY1AdQ (video from OverDrive’s YouTube account describing functionality and use of the OverDrive
application.) These claim charts demonstrate OverDrive’s infringement by comparing each element of the asserted claims to corresponding
components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an expert report on
infringement. These claim charts include information provided by way of example, and not by way of limitation.
        The analysis set forth below is based only upon information from publicly available resources regarding the Accused Instrumentalities, as
OverDrive has not yet provided any non-public information. An analysis of OverDrive’s (or other third parties’) technical documentation may assist
in fully identify all infringing features and functionality. Accordingly, Sino Star reserves the right to supplement this infringement analysis once
such information is made available to Sino Star. Furthermore, Sino Star reserves the right to revise this infringement analysis, as appropriate, upon
issuance of a court order construing any terms recited in the asserted claims.
        Sino Star provides this evidence of infringement and related analysis without the benefit of claim construction or expert reports or discovery.
Sino Star reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on any such claim construction or expert
reports or discovery.
        Unless otherwise noted, Sino Star contends that OverDrive directly infringes the ’635 patent in violation of 35 U.S.C. § 271(a) by selling,
offering to sell, making, using, and/or importing the Accused Instrumentalities. The following exemplary analysis demonstrates that infringement.
Unless otherwise noted, Sino Star further contends that the evidence below supports a finding of indirect infringement under 35 U.S.C. § 271(b) in
conjunction with other evidence of liability under one or more of those subsections. OverDrive makes, uses, sells, imports, or offers for sale in the
United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make, use, sell, import, or offer
for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority products, equipment, or
services that infringe claim 1 of the ’635 patent, including without limitation, the Accused Instrumentalities.
        Unless otherwise noted, Sino Star believes and contends that each element of each claim asserted herein is literally met through OverDrive’s
provision of the Accused Instrumentalities. However, to the extent that OverDrive attempts to allege that any asserted claim element is not literally
met, Sino Star believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis
of the Accused Instrumentalities, Sino Star did not identify any substantial differences between the elements of the patent claims and the
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                                                 SINO STAR GLOBAL’S ANALYSIS OF INFRINGEMENT
corresponding features of the Accused Instrumentalities, as set forth herein. In each instance, the identified feature of the Accused Instrumentalities
performs at least substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim
element.
        To the extent the chart of an asserted claim relies on evidence about certain specifically-identified Accused Instrumentalities, Sino Star asserts
that, on information and belief, any similarly-functioning instrumentalities also infringes the charted claim. Sino Star reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by OverDrive. Sino Star also reserves the right to amend
this infringement analysis by citing other claims of the ’635 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities.
Sino Star further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




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       Claim 1                                                         Accused Instrumentalities
A method for           The preamble is not limiting. Upon information and belief, OverDrive is the infringer practicing a method for controlling
controlling an         an electronic book by the Accused Instrumentalities. For example, the Accused Instrumentalities, as shown below,
electronic book,       include a method for controlling an electronic book.
comprising steps of:




                       Source: https://meet.libbyapp.com/

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                  Source: https://www.overdrive.com/apps/libby#GettingStarted




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                  Source: Screenshot of Libby application on a mobile device.


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                      Source: https://www.overdrive.com/apps/sora/

rendering a display   The Accused Instrumentalities include rendering a display of one of an electronic book interface and an electronic book
of one of an          display with an executable program or programs, as shown by the screenshots of the Accused Instrumentalities below.
electronic book
interface and an
electronic book
display with an
executable program
or programs;




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                  Source: Screenshot of Libby application on a mobile device.



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                  Source: Screenshot of Libby application on a mobile device.




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                  Source: https://meet.libbyapp.com/


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                         Source: https://www.overdrive.com/apps/sora/

controlling at least a   The Accused Instrumentalities include controlling at least a display of said electronic book with an electronic book
display of said          behavior specification. For example, the Accused Instrumentalities include an electronic book behavior specification that
electronic book with     supports file formats such as EPUB.
an electronic book
behavior
specification,




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                  Source: Screenshot of Libby application on a mobile device.




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                        Source:
                        https://www.amphi.com/Page/13473#:~:text=*A%20SORA%20account%20enables%20you,EPUB%20eBooks%20on%
                        20multiple%20devices.&text=Find%20and%20save%20our%20school's%20SORA%20collection%20in%20the%20SO
                        RA%
                        20app.&text=Open%20our%20school's%20SORA%20collection,a%20hold%20on%20a%20title.
said electronic book    The Accused Instrumentalties include said electronic book behavior specification being data separate from the executable
behavior                program or programs which render the display of one of the electronic book interface and the electronic book display.
specification being     For example, the supported file format of the electronic book behavior specification below is data separate from Libby’s
data separate from      executable program or programs which renders the e-book display.
the executable
program or
programs which
render the display of
one of the electronic
book interface and
the electronic book
display;




                        Source: Screenshot of Libby application on a mobile device.

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                  Source: Screenshot of Libby application on a mobile device.

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said electronic book   The Accused Instrumentalities’ electronic book behavior specification contains both a static specification and a dynamic
behavior               specification. As an example of the static specification, when Libby displays e-book documents in supported formats,
specification          such as EPUB, Libby’s electronic book behavior specification contains book attributes (e.g., title, author, contents) from
containing both a      the EPUB document.
static specification




                       Source: Annotated screenshot of Libby application on a mobile device.




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                  Source:
                  https://www.amphi.com/Page/13473#:~:text=*A%20SORA%20account%20enables%20you,EPUB%20eBooks%20on%
                  20multiple%20devices.&text=Find%20and%20save%20our%20school's%20SORA%20collection%20in%20the%20SO
                  RA%
                  20app.&text=Open%20our%20school's%20SORA%20collection,a%20hold%20on%20a%20title.




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                      Source: https://www.w3.org/TR/epub/#sec-conformance-checking




and a dynamic         The Accused Instrumentalities’ electronic book behavior specification contains both a static specification and a dynamic
specification, said   specification, said dynamic specification configured to allow an electronic book behavior of a displayed electronic book
dynamic               to be initiated or modified via a user-intitiated command or an automatically initiated command. As an example of the

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specification          dynamic specification, Libby is configured to allow an electronic book behavior of a displayed electronic book, such as
configured to allow    highlighting and making notes directly in the text, to be initiated by the user.
an electronic book
behavior of a
displayed electronic
book to be initiated
or modified via a
user-initiated
command or an
automatically-
initiated command




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                      Source: https://www.youtube.com/watch?v=rFNHrBr2A5A (screenshot at 1 minute 54 seconds of video)


                      For further example, as annoted below, Sora is configured to allow an electronic book behavior of a displayed electronic
                      book, such as making notes, to be initiated by the user.




                      Source: https://www.overdrive.com/apps/sora/




Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in
any manner. For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of
the relevant reference(s), as appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to
correct the same.

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